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 1   ANTHONY D. PRINCE, SBN 202892
     GENERAL COUNSEL, CALIFORNIA HOMELESS UNION
 2   LAW OFFICES OF ANTHONY D. PRINCE
 3   2425 Prince Street, Ste. 100
     Berkeley, CA 94705
 4   Telephone: (510) 301-1472
     Email: princelawoffices@yahoo.com
 5
 6   ANDREA M. HENSON, SBN 331898
     WHERE DO WE GO
 7   2726 Martin Luther King Jr. Way
     Berkeley, CA 94703
8
     Telephone: (510) 640-7390
 9   Email: ahenson@wdwg.org

10
     Attorneys for Plaintiffs
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                                   UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14
     CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
15                                               )
                                                 ) DECLARATION OF CRYSTAL SANCHEZ
16                  Plaintiffs,
                                                 ) IN SUPPORT OF PLAINTIFFS’
17          vs.                                  ) APPLICATION FOR TEMPORARY
                                                 ) RESTRAINING ORDER AND
18                                               ) PRELIMINARY INJUNCTION
     CITY OF FREMONT,                            )
19                                               )
20                  Defendant.                   )
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21                                               )
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     California Homeless Union, et al. v. City of Fremont
     Declaration of Crystal Sanchez
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 1          I, CRYSTAL SANCHEZ do declare, I have full knowledge of what is in this declaration and if
 2   called to testify would do so competently.
 3
 4      1. I serve as president of the 2,900-member Sacramento Homeless Union (SHU) and a Regional
 5          Director of the California Homeless Union/Statewide Organizing Council. As such, I oversee
 6
            direct support to Fremont’s unhoused residents including members of our affiliated Fresno
 7
            Homeless Union.
8
 9      2. The Sacramento Homeless Union Street Outreach Team partners with Sacramento Solidarity of

10          Unhoused Persons (SacSOUP) to manage critical services, including case management, within the
11          federal Homeless Management Information System (HMIS) as required by the U.S. Dept. of
12
            Housing and Urban Development (HUD). If Chapter 8.90 of the Fremont Municipal Code is
13
            enforced we will be unable to continue the expansion of our support work to assist the unhoused
14
15          members of the affiliated Fremont Homeless Union.

16      3. Our current services encompass crisis and housing assessments, mental health support, Peer
17
            Support Specialists through the California Mental Health Service Act, medical care referrals, and
18
            substance use recovery resources. We provide emergency intervention and de-escalation services,
19
20          along with comprehensive benefits assistance including Medi-Cal, food stamps, SSI, and

21          disability support. Our team responds to weather-related crises and ensures basic needs are met
22          for our vulnerable community members.
23
        4. The aiding and abetting ordinance will impair our ability to fulfill our contractual obligations. We
24
            currently maintain contractual partnerships with the Bombas Corporation for distribution of socks
25
26          to the homeless and the Uniqlo Corporation, the third largest retailer in the world, for refurbished

27          clothing distribution through their sustainability program. Our contract with the California Public
28


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 1          Health Department enables us to provide harm reduction through Narcan and fentanyl test strips,
 2          and education.
 3
        5. Fremont’s determination to charge officers and members of our Union and other supporters of the
 4
           homeless as accomplices will seriously impair if not destroy the work we do.
 5
 6      I swear under penalty of perjury under the laws of the United States that the foregoing is a true

 7   statement based on personal knowledge.
8
 9          Dated: March 2, 2025                                         /s/ Crystal Sanchez

10          Executed at Sacramento, CA
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